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 1                                                                       HONORABLE JAMES L. ROBART
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 7                                   UNITED STATES DISTRICT COURT
                                    WESTERN DISTRICT OF WASHINGTON
 8                                            AT SEATTLE
 9   MAYZE DANIELS and DARRELL
     PARODI,
10                                                                 No. 2:20-cv-00295-JLR
                                            Plaintiffs,
11                                                                 DEFENDANTS’ ANSWER AND
              v.                                                   AFFIRMATIVE DEFENSES TO
12                                                                 PLAINTIFFS’ COMPLAINT
     NATIONAL RAILROAD PASSENGER
13   CORPORATION D/B/A AMTRAK;                                     JURY DEMAND
     RICHARD H. ANDERSON; JEFFREY
14   MORELAND; and ANTHONY COSCIA,
15                                       Defendants.
16

17            Defendants National Railroad Passenger Corporation (“Amtrak”), Richard H. Anderson,
18   Jeffrey Moreland, and Anthony Coscia respond as follows to Plaintiffs’ Complaint
19   (“Complaint”). 1
20                                                        ANSWER
21                                                        I. Parties

22   A.       Defendants lack sufficient information to admit or deny the allegations in Paragraph I.A
23            of the Complaint and therefore deny the same.
24   B.       Defendants admit the allegations in Paragraph I.B of the Complaint.
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26   1
      Plaintiffs incorrectly named Amtrak as “Amtrax” in the Complaint. Defendants answer the following documents
     herein, both of which appear to be Complaints filed by Plaintiffs: (1) Plaintiffs’ Complaint for a Civil Case Alleging
27   Negligence, filed Mar. 16, 2020; and (2) Plaintiffs’ Claim for Damage, filed Feb. 24, 2020.
                                                                                                 LANE POWELL PC
     DEFENDANTS’ ANSWER AND AFFIRMATIVE DEFENSES TO                                       1420 FIFTH AVENUE, SUITE 4200
     PLAINTIFFS’ COMPLAINT AND JURY DEMAND – 1                                                     P.O. BOX 91302
     NO. 2:20-CV-00295-JLR                                                                   SEATTLE, WA 98111-9402
                                                                                          206.223.7000 FAX: 206.223.7107
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 1                                              II. Jurisdiction

 2            Defendants admit that Amtrak is a District of Columbia corporation with its principal

 3   place of business in Washington D.C. Defendants admit that based on the allegations in Plaintiffs’

 4   Complaint, this Court has jurisdiction over this claim under 28 U.S.C. §§ 1332 and 1349. Except

 5   as expressly admitted herein, Defendants deny the allegations in Paragraph II of the Complaint.

 6                                       III. Amount in Controversy

 7            Defendants lack sufficient information to admit or deny the allegations in Paragraph III

 8   of the Complaint and therefore deny the same.

 9                                         IV. Statement of Claim

10            Defendants deny the allegations in Paragraph IV of the Complaint.

11                                                 V. Relief

12            Defendants deny that Plaintiffs are entitled to any of their requested relief.

13                                       AFFIRMATIVE DEFENSES

14             Without assuming the burden of proving any matter upon which any other party bears

15    the burden pursuant to applicable law, Defendants set forth the following affirmative defenses,

16    which are potentially applicable to this matter:

17   1.       Plaintiffs failed to properly serve Defendants;

18   2.       Plaintiffs failed to mitigate their damages;

19   3.       Plaintiffs failed to state a claim against Defendants upon which relief can be granted;

20   4.       Plaintiffs’ alleged damages were proximately caused by the negligence or other fault of

21            Plaintiffs themselves, which bars or reduces their claims;

22   5.       Plaintiffs lack standing to sue for some or all of the injuries alleged in their Complaint.

23   6.       Plaintiffs’ alleged damages were proximately caused by the assumption of the risk by

24            Plaintiffs, and Plaintiffs’ claims are therefore barred;

25   7.       Plaintiffs’ claims are barred in whole or in part on the basis of comparative fault or

26            contributory negligence;

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 1   8.       Plaintiffs’ alleged injuries and damages were caused, in whole or in part, by pre-existing

 2            conditions or other contributory or concurrent conditions or factors including events

 3            occurring prior or subsequent to the alleged subject occurrence;

 4   9.       Plaintiffs’ claims are barred, in whole or in part, by estoppel, release, waiver, or other

 5            equitable defenses;

 6   10.      Any claim for punitive damages is barred by 49 U.S.C. § 20101 and the United States

 7            Constitution, including, inter alia, the Due Process, Equal Protection, and Excessive

 8            Fines Clauses, as well as the Washington Constitution and applicable statutory

 9            provisions;

10   11.      To the extent certain expenses incurred by Plaintiffs arising from the incident in question

11            have been paid by Defendants, any recovery by Plaintiffs should be reduced to the extent

12            of such payments under the doctrine of accord and satisfaction;

13   12.      Plaintiffs fail to name a proper party as a defendant and may have failed to name some

14            necessary or indispensable parties;

15   13.      Plaintiffs’ claims are barred in whole or in part by the doctrine of federal preemption,

16            including, but not limited to the Federal Railroad Safety Act, 49 U.S.C. § 49 U.S.C. §

17            20101, et seq., the Locomotive Inspection Act, 49 U.S.C. § 20701, et seq., and regulations

18            promulgated thereunder;

19   14.      Plaintiffs’ alleged damages did not result, directly or indirectly, from any act or omission

20            of Defendants, but rather from the acts or omissions of persons and/or entities other than

21            Defendants, for which Defendants are not liable, thus barring Plaintiffs from recovering

22            from Defendants;

23   15.      Plaintiffs’ damages and/or injuries were the result of superseding or intervening causes

24            that Defendants did not foresee and could not reasonably have foreseen under the same

25            or similar circumstances;

26   16.      Defendants are entitled to apportionment or set-off of all damages not caused by

27            Defendants’ alleged negligence or fault;
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 1   17.      Plaintiffs’ claims may be barred in whole or in part by the doctrines of laches, waiver,

 2            unclean hands, or accord and satisfaction.

 3            Defendants reserve the right to amend this answer and affirmative defenses to allege

 4   additional defenses as may be identified during the course of discovery and investigation.

 5                              DEFENDANTS’ PRAYER FOR RELIEF

 6            Having fully answered Plaintiffs’ Complaint and set forth its affirmative defenses,

 7   Defendants pray as follows:

 8   1.       That Plaintiffs’ Complaint be dismissed with prejudice;

 9   2.       That Plaintiffs take nothing by way of relief requested against Defendants;

10   3.       That Defendants be granted their costs, including reasonable attorneys’ fees, incurred in

11            defending this action; and

12   4.       That the Court grant Defendants such other relief as it deems just and equitable under the

13            circumstances.

14

15            DATED: May 6, 2020

16                                                  LANE POWELL PC
17

18                                                  By: s/ Andrew G. Yates
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23                                                  Attorneys for Defendants National Railroad
                                                    Passenger Corporation, Richard H. Anderson,
24                                                  Jeffrey Moreland, and Anthony Coscia
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                                                                                   LANE POWELL PC
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 1                                           JURY DEMAND

 2            Pursuant to Federal Rule of Civil Procedure 38(b), Defendants National Railroad

 3   Passenger Corporation, Richard H. Anderson, Jeffrey Moreland, and Anthony Coscia herein

 4   requests a jury trial by a jury of twelve in the above-referenced matter.

 5            DATED: May 6, 2020

 6                                                 LANE POWELL PC
 7

 8                                                 By: s/ Andrew G. Yates
                                                       Tim D. Wackerbarth, WSBA No. 13673
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     DEFENDANTS’ ANSWER AND AFFIRMATIVE DEFENSES TO                                LANE POWELL PC
                                                                            1420 FIFTH AVENUE, SUITE 4200
     PLF’S COMPLAINT (FELA) AND JURY DEMAND – 5                                      P.O. BOX 91302
     NO. 2:20-CV-00295-JLR                                                     SEATTLE, WA 98111-9402
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 1                                    CERTIFICATE OF SERVICE

 2            I hereby certify that on May 6, 2020, I electronically filed the foregoing with the Clerk of

 3   the Court using the CM/ECF System, which in turn automatically generated a Notice of

 4   Electronic Filing (NEF) to all parties in the case who are registered users of the CM/ECF system.

 5   The NEF for the foregoing specifically identifies recipients of electronic notice. I hereby certify

 6   that I e-mailed and mailed by United States Postal Service the document to the following non-

 7   CM/ECF participants:

 8   MAYZE DANIELS
     112 AGAPE LN
 9
     OROFINO, ID 83544
10   mayzedaniels710@gmail.com

11   DARRELL PARODI
     112 AGAPE LN
12   OROFINO, ID 83544
     darrell7396@gmail.com
13

14            Executed on the 6th day of May, 2020, at Seattle, Washington.
15                                                         s/ Alisa R. Flabel
                                                           Alisa R. Flabel, Legal Assistant
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     DEFENDANTS’ ANSWER AND AFFIRMATIVE DEFENSES TO                                 LANE POWELL PC
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